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     Federal Public Defender
 2   Nevada State Bar No. 11479
     MONIQUE KIRTLEY
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     Monique_Kirtley@fd.org
 6
 7   Attorney for Arlandell Moore

 8
                                 UNITED STATES DISTRICT COURT
 9
                                      DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                           Case No. 2:18-CR-383-APG-EJY

12                  Plaintiff,                               STIPULATION TO CONTINUE
                                                               SENTENCING HEARING
13          v.
                                                                   (Second Request)
14   ARLANDELL MOORE,

15                  Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Nicholas A.
18   Trutanich, United States Attorney, and Brian Y. Whang, Assistant United States Attorney,
19   counsel for the United States of America, and Rene L. Valladares, Federal Public Defender,
20   and Monique Kirtley, Assistant Federal Public Defender, counsel for Arlandell Moore, that the
21   Sentencing Hearing currently scheduled on October 6, 2020 at 10:30 am, be vacated and
22   continued to a date and time convenient to the Court, but no sooner than thirty (30) days.
23          This Stipulation is entered into for the following reasons:
24          1.      Additional time is needed to allow defense counsel time to complete and file a
25   sentencing memorandum. Additional time is required to gather mitigation information, which
26   will be pertinent to the defendant’s sentencing memorandum.
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 1        2.     The defendant is out of custody and agrees with the need for the continuance.
 2        3.     The parties agree to the continuance.
 3        This is the second request for a continuance of the sentencing hearing.
 4        DATED this 25th day of September, 2020.
 5
 6   RENE L. VALLADARES                            NICHOLAS A. TRUTANICH
     Federal Public Defender                       United States Attorney
 7
 8      /s/ Monique Kirtley                           /s/ Brian Y. Whang
     By_____________________________               By_____________________________
 9   MONIQUE KIRTLEY                               BRIAN Y. WHANG
     Assistant Federal Public Defender             Assistant United States Attorney
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 1                               UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                           Case No. 2:18-CR-383-APG-EJY
 4
                    Plaintiff,                           ORDER
 5
            v.
 6
     ARLANDELL MOORE,
 7
                    Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for

11   Tuesday, October 6, 2020 at 10:30 a.m., be vacated and continued to November 10, 2020 at

12   the hour of 1:00 p.m. in courtroom 6C; or to a time and date convenient to the court.

13          DATED this 25th day of September, 2020.

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                                                  UNITED STATES DISTRICT JUDGE
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